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                   12                                  UNITED STATES DISTRICT COURT

                   13                             NORTHERN DISTRICT OF CALIFORNIA

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                   15   CHASOM BROWN, MONIQUE TRUJILLO,                  Case No. 4:20-cv-03664-YGR-SVK
                        WILLIAM BYATT, JEREMY DAVIS, and
                   16   CHRISTOPHER CASTILLO, individually and           GOOGLE LLC’S ADMINISTRATIVE
                        on behalf of all similarly situated,             MOTION TO CONSIDER WHETHER CASES
                   17                                                    SHOULD BE RELATED
                                         Plaintiffs,
                   18                                                    The Honorable Yvonne Gonzalez Rogers
                               v.
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                        GOOGLE LLC,
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                                         Defendant.
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COOLEY LLP
ATTORNEYS AT LAW                                                                 GOOGLE’S ADMIN. MOTION TO CONSIDER
 SAN FRANCISCO                                                                     WHETHER CASES SHOULD BE RELATED
                                                                                    CASE NO. 4:20-CV-03664-YGR-SVK
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                    1             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD: PLEASE TAKE

                    2   NOTICE THAT, pursuant to Civil Local Rules 3-12 and 7-11, defendant Google LLC (“Google”)

                    3   respectfully submits this administrative motion to deem the above-captioned action, Brown, et al.

                    4   v. Google LLC, Case No. 20-cv-03664-YGR-SVK (N.D. Cal.) (the “Brown Action”) related to

                    5   Salcido, et al. v. Google LLC, Case No. 5:24-cv-06462 (N.D. Cal) (the “Salcido Action”). The

                    6   Salcido Action is currently pending before Magistrate Judge Nathanael M. Cousins.

                    7                                               ARGUMENT

                    8             The Salcido Action is one of over 2,000 complaints for damages filed in the Superior Court

                    9   of the State of California, County of Santa Clara, seeking damages based on the same allegations

                   10   raised in Brown—the damages claims for which this Court denied certification of a Rule 23(b)(3)

                   11   class in Brown. See Salcido, et al. v. Google LLC, Case No. 24CV436497. On August 5, 2024,

                   12   Plaintiffs in the Salcido Action filed a First Amended Complaint (the “Salcido FAC”), asserting

                   13   for the first time a Federal Wiretap Act claim (Brown includes the same claim).1 On September

                   14   13, 2024, Google timely removed the Salcido Action to this District. Salcido Action, ECF No. 1.

                   15   Now that the Salcido Action is pending in this District, interests of judicial comity and efficiency

                   16   would be furthered by relating it to the Brown Action on which it is based.

                   17             Pursuant to Local Rule 3-12(a), an action is considered related to another when (1) the

                   18   “actions concern substantially the same parties, property, transaction, or event,” and (2) it “appears

                   19   likely that there will be an unduly burdensome duplication of labor and expense or conflicting

                   20   results if the cases are conducted before different Judges.” Both of these criteria are easily satisfied

                   21   here.

                   22             First, the Salcido FAC advances substantially the same allegations and claims and names

                   23   the same defendant at issue in Brown, and the Salcido Plaintiffs are members of the nationwide

                   24   classes certified in Brown. Indeed, the Salcido Action was filed by counsel for intervenors in the

                   25   Brown Action (Potter Handy, LLP) and Plaintiff Salcido was the lead intervenor in Brown. Brown

                   26   Action, ECF No. 1116. Moreover, the Salcido FAC explicitly pleads that the Salcido Action is a

                   27   follow-on action to the Brown Action by alleging: (1) “Plaintiffs are individuals who are all within

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                            For the Court’s reference, the Salcido FAC is attached hereto as Exhibit A.
ATTORNEYS AT LAW                                                                         GOOGLE’S ADMIN. MOTION TO CONSIDER
 SAN FRANCISCO                                                             2               WHETHER CASES SHOULD BE RELATED
                                                                                            CASE NO. 4:20-CV-03664-YGR-SVK
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                    1   the scope of the certified nationwide classes in the Brown [Action] who have now decided to

                    2   separately seek monetary relief from Google”; (2) “Plaintiffs assert claims that already survived

                    3   past motions to dismiss and summary judgment in the Brown [Action], where the federal court

                    4   certified two nationwide classes under Rule 23(b)(2) to pursue these claims for purposes of

                    5   injunctive relief”; and (3) “Plaintiffs now each seek monetary relief from Google[.]” Ex. A ¶ 120.

                    6          Second, given the substantial overlap between the two actions, judicial economy and party

                    7   resources would be best served by assigning the Salcido Action to this Court, which currently

                    8   presides over the Brown Action. It would be inefficient and burdensome for a different judge to

                    9   separately evaluate and address similar issues arising out of the same factual allegations and legal

                   10   claims that arose in the Brown Action. The need for uniformity and judicial economy is particularly

                   11   acute here, given that Plaintiffs’ counsel has filed at least a dozen additional copycat actions that

                   12   assert identical claims and factual allegations, which Google anticipates removing to this District

                   13   in due course.2

                   14          Finally, counsel for the Salcido Plaintiffs agree that the Salcido Action should be related to

                   15   the Brown Action. The Salcido Plaintiffs have stipulated to relating the actions. See Stipulation

                   16   Regarding Administrative Motion to Consider Whether Cases Should be Related.

                   17          For the reasons set forth above, Google respectfully requests that the Salcido Action be

                   18   deemed related to the Brown Action and assigned to the Honorable Yvonne Gonzalez Rogers for

                   19   all purposes.

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                          Google submits that each copycat action filed by Plaintiffs’ counsel that is ultimately removed to
                   28   this District should similarly be deemed related to the Brown Action and assigned to the Honorable
COOLEY LLP
                        Yvonne Gonzalez Rogers.
ATTORNEYS AT LAW                                                                       GOOGLE’S ADMIN. MOTION TO CONSIDER
 SAN FRANCISCO                                                           3               WHETHER CASES SHOULD BE RELATED
                                                                                          CASE NO. 4:20-CV-03664-YGR-SVK
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                    1   Dated: September 18, 2024                   COOLEY LLP

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                    3                                               By: /s/ Aarti Reddy
                                                                        Aarti Reddy
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                                                                    Attorney for Defendant
                    5                                               Google LLC
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COOLEY LLP
ATTORNEYS AT LAW                                                              GOOGLE’S ADMIN. MOTION TO CONSIDER
 SAN FRANCISCO                                                  4               WHETHER CASES SHOULD BE RELATED
                                                                                 CASE NO. 4:20-CV-03664-YGR-SVK
